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1                                                                  HONORABLE LAUREN KING
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8
                             UNITED STATES DISTRICT COURT
9                      FOR THE WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
10
     WASHINGTON ELECTION INTEGRITY       )              Case No. 2:21-cv-01394-LJK
11
     COALITION UNITED, a Washington State)
12   Nonprofit Corporation; DOUG BASLER; )
     HOWARD FERGUSON; DIANA BASS;        )              SUPPLEMENTAL BRIEFING
13   TIMOFEY SAMOYLENKO;                 )              RE REMAND
     MARY HALLOWELL;                     )
14
     SAMANTHA BUCARI; RONALD             )
15   STEWART; LYDIA ZIBIN; CATHERINE     )
     DODSON,                             )
16                                       )
                                         )
17
             Plaintiffs,                 )
18                                       )
             v.                          )
19                                       )
                                         )
20
     JULIE WISE, Director of King County )
21   Elections; KING COUNTY, and DOES    )
     1-30, inclusive,                    )
22                                       )
             Defendants.                 )
23
     ____________________________________)
24
            Per the Court’s Order dated August 5, 2022, Plaintiff Washington Election Integrity
25
     Coalition United (“WEiCU”), without appearance, and with full reservation of rights,
26

27   respectfully submits the following supplemental briefing re: remand upon review of Polo v.

28   SUPPLEMENTAL BRIEFING RE REMAND
                                                   1
                Case 2:21-cv-01394-LK Document 42 Filed 08/15/22 Page 2 of 4



1    Innoventions Int’l, LLC, 833 F.3d 1193 (9th Cir. 2016) (“Polo”) and Britton v. Cnty. of Santa Cruz
2
     No. 19-CV-04263-LHK, 2020 WL 4197609 (N.D. Cal. 2020) (“Britton”).
3
             As made clear by the Polo and Britton decisions, where a Defendant asserts that a
4
     Plaintiff lacks Article III standing for claims in a removed action, as is the situation here, the
5

6    Court lacks subject matter jurisdiction requiring remand:

7            By arguing that Plaintiffs lack Article III standing, Defendants in effect concede
             that the Court lacks subject matter jurisdiction over Plaintiff’s Section 1983 claim
8
             because standing is a requisite component of subject matter jurisdiction.
9
     Britton, at pp. 6-7. Here, as in Britton, Defendants are moving for dismissal on grounds
10
     including that Plaintiffs lack standing to bring their claims for injunctive or declaratory relief
11

12   (Causes of Action IV through XV) which form the factual and legal basis for Plaintiff’s

13   declaratory, injunctive relief and Section 1983 claims (Causes of Action XVII through XIX).
14
     Defendants’ Motion to Dismiss, Document 17, pp. 9-10. Furthermore, Defendants openly
15
     concede, as they must, that “[A]rticle III’s standing requirements applies to cases that have been
16
     removed to federal court.” Defendants’ Motion to Dismiss, Document 17, p. 10, ll. 18-20 (citing
17

18   Lujan v. Defenders of Wildlife, 504 U.S. 555 (1992), Lee v. Am. Nat. Ins. Co., 260 F.3d 997, 1008

19   (9th Cir. 2001)).
20
             Where Defendants themselves argue that Plaintiffs lack Article III standing to assert their
21
     claims, “Defendants have failed to meet their burden to establish that the Court has subject
22
     matter jurisdiction”, and “[b]oth statute and Ninth Circuit precedent . . . make clear that remand
23

24   is the only appropriate option . . . .” Britton, at p.7 (citing Polo at 1196), 28 U.S.C. §1447(c). 1

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     1
      “Remand is the correct remedy because a failure of federal subject-matter jurisdiction means
27   only that the federal courts have no power to adjudicate the matter. State courts are not bound by
28   SUPPLEMENTAL BRIEFING RE REMAND
                                                       2
               Case 2:21-cv-01394-LK Document 42 Filed 08/15/22 Page 3 of 4



1           In addition, under the Britton decision, the Court may not exercise supplemental
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     jurisdiction over WEiCU’s Public Records Action based on state law (Cause of Action XVI)
3
     where the Court lacks original jurisdiction over any other claim:
4
            Because supplemental jurisdiction requires that the Court have original
5
            jurisdiction over at least one other claim, the Court may not exercise supplemental
6           jurisdiction over Plaintiffs’ state law declaratory relief claim.

7    Britton, at p. 10 (citing Del Toro v. Centene Corp., No. 19-CV-05163-LHK, 2020 WL 1643861,
8
     at *6 (N.D. Cal. April 2, 2020)).
9
            Consequently, in view of Polo and Britton, this Court lacks subject matter jurisdiction
10
     over any claims in the Verified Complaint. Because this Court lacks subject matter jurisdiction,
11

12   WEiCU hereby stipulates to full remand of all claims in the Verified Complaint notwithstanding

13   its present Motion to Sever and Remand claims under 28 U.S.C. §1441(c)(2). Polo, at 1194, 28
14
     U.S.C. §1447(c).
15
                                                  Respectfully submitted,
16
                                                  VIRGINIA P. SHOGREN, P.C.
17

18
     Dated: August 15, 2022                       _________________________________
19                                                By: Virginia P. Shogren, Esq.
                                                  961 W. Oak Court
20
                                                  Sequim, WA 98382
21                                                360-461-5551
                                                  WEiCUattorney@protonmail.com
22
                                                  Attorney for Plaintiff WEiCU
23

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26
     the constraints of Article III.” Polo at 1196, citing ASARCO Inc. v. Kadish, 490 U.S. 605, 617
27   (1989).
28   SUPPLEMENTAL BRIEFING RE REMAND
                                                     3
               Case 2:21-cv-01394-LK Document 42 Filed 08/15/22 Page 4 of 4



1                                   CERTIFICATE OF SERVICE
2
            I hereby certify that on August 15, 2022, I electronically filed the following with the
3    Clerk of the Court using the CM/ECF system which will send notification of such filing to the
     counsel of record as indicated:
4
     SUPPLEMENTAL BRIEFING RE REMAND
5

6    Ann M. Summers
     David J.W. Hackett
7    Mari Isaacson
     (Counsel for Defendants)
8

9    Kevin Hamilton
     Reina Almon-Griffin
10   Amanda Beane
     (Counsel for Proposed Intervenor)
11

12   And I hereby certify that I caused to be served the document via email provided by the following
     parties who are non CM/ECF participants:
13
     Doug Basler
14
     Howard Ferguson
15   Diana Bass
     Timofey Samoylenko
16   Mary Hallowell
     Samantha Bucari
17
     Ronald Stewart
18   Lydia Zibin
     Catherine Dodson
19

20
     Dated: August 15, 2022                              s/ Virginia P. Shogren
21                                                       Virginia P. Shogren
                                                         961 W. Oak Court
22                                                       Sequim, WA 98382
                                                         360-461-5551
23

24

25

26

27

28   SUPPLEMENTAL BRIEFING RE REMAND
                                                    4
